      Case 1:04-cv-00798-PLF-GMH Document 336 Filed 01/14/15 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           )
                                                    )
         Plaintiff,                                 )
                                                    )
                       v.                           ) Civil Action No. 1:04-cv-00798-PLF
                                                    )
                                                    )
ALL ASSETS HELD AT BANK JULIUS                      ) ORAL ARGUMENT REQUESTED
BAER & COMPANY, LTD., GUERNSEY                      )
BRANCH, ACCOUNT NUMBER 121128,                      )
IN THE NAME OF PAVLO                                )
LAZARENKO, LAST VALUED AT                           )
APPROXIMATELY $2 MILLION IN
                                                    )
UNITED STATES DOLLARS, ET AL.,
                                                    )
         Defendants.                                )
                                                    )

                            CLAIMANT PAVEL LAZARENKO’S
                                 MOTION TO COMPEL

         Claimant Pavel Lazarenko, by and through his counsel of record, respectfully submits

this motion to compel pursuant to Federal Rules of Civil Procedure 26 and 34.

         Counsel for Mr. Lazarenko served the government with Requests for the Production of

Documents on September 19, 2014. As of today, the government has only produced the trial

transcript, the government’s admitted trial exhibits, and most, but not all, of the depositions from

the investigation.

         Claimant files this motion seeking the Court to compel the production of the following

items:

         1.     All documents known to Plaintiff which in any way relate to the facts and
                allegations asserted in the Amended Complaint.
         2.     All documents and exhibits Plaintiff intends to use at the trial of this matter.
         3.     Any depositions that Plaintiff plan to introduce at trial.

                                                  1
Case 1:04-cv-00798-PLF-GMH Document 336 Filed 01/14/15 Page 2 of 6



 4.    Copies of all grand jury transcripts for any witness who testified about the subject
       matter of the Amended Complaint.
 5.    All records that Plaintiff obtained by grand jury subpoena as part of the
       government's criminal investigation of Mr. Lazarenko.
 6.    All records that Plaintiff obtained by other process as part of the government’s
       criminal investigation of Mr. Lazarenko.
 7.    Any records Plaintiff obtained voluntarily during the government’s criminal
       investigation of Mr. Lazarenko.
 8.    All documents that Plaintiff intend to use at Mr. Lazarenko’s deposition.
 11.   All documents that refer or relate to any searches and seizures connected with
       this case.
 12.   Copies of all Mutual Litigation Assistance Treaty (“MLAT”) requests made to
       obtain any evidence in this case or the criminal prosecution of Mr. Lazarenko.
 13.   Copies of all MLAT requests received by Plaintiff pertaining to Mr. Lazarenko or
       Mr. Peter Kiritchenko.
 14.   Any documents that Plaintiff received as a result of the MLAT requests referenced
       in ¶ 12.
 15.   Translations of any documents that Plaintiff received from the MLAT requests in
       ¶ 12.
 16.   Any communication between Plaintiff and the representatives of any foreign
       government about the subject matter of this Amended Complaint.
 17.   Any communication between Plaintiff and the representatives of any foreign
       government about Mr. Lazarenko.
 18.   Any law enforcement memorandum prepared about the subjects of the Amended
       Complaint.
 19.   Any law enforcement memorandum prepared about Mr. Lazarenko.
 20.   Any law enforcement memorandum prepared about Peter Kiritchenko.
 21.   Any law enforcement memorandum prepared about Julia Tymoshenko.
 22.   Any law enforcement memorandum prepared about Oleksander Tymoshenko.
 23.   Any law enforcement memorandum prepared about Alex Lazarenko.
 24.   Any law enforcement memorandum prepared about Alexei Ditiatkovsky.
 25.   The FBI evidence log pertaining to the investigation of Mr. Lazarenko.
 27.   Any documents reviewed by Revenue Agent Charles Tonna to prepare his
       summary charts.
 30.   All tapes provided to the U.S. Department of State by Mykola Melnychenko.
 31.   All documents analyzing the tapes provided by Melnychenko (including any
       translations).
 32.   Any interview memorandum of meetings with Melnychenko.
 33.   All documents used to produce the State Department Reports as they relate to Mr.
       Lazarenko or the specified political dissidents.
 34.   All documents relating to the arrest and prosecution of specified political
       dissidents.
 36.   English translations of the documents referenced in ¶ 35.
 37.   Any documents that relate to impeachment material of any witness Plaintiff intend
       to call at trial.

                                        2
     Case 1:04-cv-00798-PLF-GMH Document 336 Filed 01/14/15 Page 3 of 6



       38.     English translations of the documents referenced in ¶ 37.
       39.     Any communications between Plaintiff and any witness who testified at the
               criminal trial.
       43.     Any reports about the movement of money internationally by the Gromada Party.

       Rule 26(b) of the Federal Rules of Civil Procedure provides that “Parties may obtain

discovery regarding any nonprivileged matter this is relevant to any party’s claim or defense.”

As detailed in Claimant’s memorandum of law, the declaration of Jed M. Silversmith, and the

Second Declaration of Jed M. Silversmith (to be filed under seal), the items listed above clearly

meet that threshold requirement. The government has consistently refused to produce responsive

documents, and delayed indefinitely, the production of other records.

       WHEREFORE, Claimant Lazarenko respectfully requests that this Court enter an order

compelling the United States to meet its basic discovery obligations and produce the records

requested above.

       Dated: January 14, 2015.

                                             Respectfully submitted,


                                             BLANK ROME LLP

                                             By: __/s/ Ian M. Comisky________
                                                    Ian M. Comisky (D.C. Bar No. 927608)
                                                    Matthew D. Lee (D.C. Bar No. 453529)
                                             One Logan Square, 130 N. 18th Street
                                             Philadelphia PA 19103
                                             Phone: (215) 569-5646
                                             Fax: (215) 832-5646
                                             Comisky-im@blankrome.com
                                             Lee-m@blankrome.com


                                             SMITH & ZIMMERMAN, PLLC
                                             By: __/s/ David B. Smith______
                                                   David B. Smith (D.C. Bar No. 403068)
                                                3
Case 1:04-cv-00798-PLF-GMH Document 336 Filed 01/14/15 Page 4 of 6



                              108 N. Alfred St.
                              Alexandria, VA 22314
                              Phone: (703) 548-8911
                              Fax: (703) 548-8935
                              Dsmith@smithzimmerman.com




                                4
     Case 1:04-cv-00798-PLF-GMH Document 336 Filed 01/14/15 Page 5 of 6



                             CERTIFICATE OF CONFERENCE

       As detailed in the Declaration of Jed M. Silversmith, the undersigned and attorneys at his

law firm and associated counsel, David Smith, have had multiple meetings with the government

pertaining to discovery, including on October 29, 2014 and December 16, 2014, as well as the

exchange of the attached letters and email.


                                              ___/s/ Ian M. Comisky____




                                               5
      Case 1:04-cv-00798-PLF-GMH Document 336 Filed 01/14/15 Page 6 of 6



                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 14, 2015, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court for the District

of Columbia, using the electronic case filing system of the court. The electronic case filing

system sent a “Notice of Electronic Filing” to the attorneys of record who have consented

in writing to accept this Notice as service of this document by electronic means. I also

certify that parties not so noticed have been served in accordance with Fed. R. Civ Pr.

Pr. 5(d).

                                                      ___/s/ Ian M. Comisky____




                                                  6
